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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT
New Haven Division

 

IN RE: : CHAPTER 13 os

PATRICIA A. MORRIS,
Debtor

U.S. BANK NATIONAL ASSOCIATION,
AS TRUSTEE, :
Movant : CASE NO. 04-34886 (ASD)

vs.

PATRICIA A. MORRIS and MOLLY T.
WHITON, TRUSTEE, :

Respondents : DECEMBER 28, 2004

MOTION FOR SANCTIONS
U.S. Bank National Association, as Trustee (“Bank”) moves for sanctions, pursuant

to Bankruptcy Rule 9011(c), 28 U.S.C.A. §1927, 11 U.S.C.A. §105(a), and the Court’s
inherent power, on the ground that the Debtor and her attorney filed this case and prior
related cases in bad faith. The following facts establish the bad faith:

1. The Bank previously owned a first mortgage (the “Mortgage”), which
encumbered real property known as 131 Lexington Avenue, New Haven, Connecticut (the

“Property”), previously owned by the Debtor. Said Mortgage was in default because of

non-payment.

 
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2. The Bank commenced a foreclosure of said Mortgage in the Superior Court for
the Judicial District of New Haven at New Haven (Docket No. CV-0460692 S) on account of
said default.

3. On May 19, 2003, the Superior Court re-entered a judgment of strict foreclosure.

(See Exhibit A).

4. Pursuant to said judgment, title to the Property vested in the Bank on July 22,
2003. (See Exhibit B).

5. The Bank subsequently initiated a summary process action in the New Haven
Housing Court (Docket No. NHSP-076208) against the Debtor and others (identified as
“John Doe”, “Jane Doe” and “Pat Doe”) by issuance of a Notice to Quit dated August 8,
2003.

6. On September 26, 2003, the Clerk of the New Haven Superior Court issued an
execution for ejectment in the foreclosure action and an eviction was scheduled for October
24, 2003.

7. On October 10, 2003, the Debtor, by her attorney, Joseph P. Rigoglioso, filed a
Chapter 13 petition for relief (case number 03-35054 Imw) (the “first bankruptcy”), thereby
staying both the execution for ejectment and summary process action.

8. On October 10, 2003, the Debtor and Attorney Rigoglioso also filed a Chapter 13
Plan in the first bankruptcy. (See Exhibit C). The Plan proposed to pay a mortgage

arrearage to the Bank with current mortgage payments being paid outside of the Plan,

 

 
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despite the fact that title to the Property had already vested in the Bank and there was,
therefore, no longer a mortgage to cure or pay.

9. On November 25, 2003 Judge Weil granted the Bank’s motion for relief from
stay to proceed with the foreclosure and summary process actions. (See Exhibit D).

10. On January 13, 2004, a judgment for possession of the Property entered in favor
of the Bank in the summary process action, and against the Debtor, John Doe, Jane Doe and
Pat Doe. The Housing Court Judge ordered a final stay of execution through April 15,
2004, on condition that the Debtor make $1,200 per month use and occupancy payments.
(See Exhibit E). The Debtor made three (3) such payments during January, February and
March, 2004.

11. On February 23, 2004, Judge Weil dismissed the first bankruptcy with prejudice
and a 180-day bar to re-filing. (See Exhibit F).

12. On April 19, 2004, the Clerk of the New Haven Housing Court issued an
execution for possession and another eviction was scheduled for May 13, 2004.

13. On May 3, 2004 one Frank Schultz, by Attorney Rigoglioso, filed an amended
Chapter 13 petition for relief (case number 04-31578 Imw) (the “second bankruptcy”).
Schultz claimed to be one of the “Doe” defendants in the summary process action, thereby
staying the summary process eviction.

14. On June 16, 2004, Judge Weil granted the Bank’s motion for relief from stay to

proceed with the summary process action. (See Exhibit G).

 
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15. On July 12, 2004, Judge Weil dismissed the second bankruptcy without
prejudice. (See Exhibit H).

16, On June 22, 2004, the Clerk of the New Haven Housing Court re-issued an
execution for possession and another eviction was scheduled for July 8, 2004.

17. OnJuly 2, 2004, one Shannon Morris, by Attorney Rigoglioso, filed a Chapter 13
petition for relief (case number 04-33147 asd) (the “third bankruptcy”). Shannon Morris
claimed to be one of the “Doe” defendants in the summary process action, thereby staying
the summary process eviction.

18. On July 29, 2004, Judge Dabrowski granted the Bank’s motion for relief from
stay to proceed with the summary process action. (See Exhibit I).

19. On October 18, 2004, Judge Dabrowski dismissed the third bankruptcy without
prejudice. (See Exhibit J).

20. On August 5, 2004, the Clerk of the New Haven Housing Court re-issued an
execution for possession and another eviction was scheduled for September 2, 2004.

21. On September 1, 2004, said Frank Schultz, by Attorney Rigoglioso, filed another
Chapter 13 petition for relief (case number 04-34122 Imw) (the “fourth bankruptcy”).
Schultz again claimed to be one of the “Doe” defendants in the summary process action,
thereby again staying the summary process eviction.

22, On October 7, 2004, Judge Dabrowski granted the Bank’s motion for relief from

stay to proceed with the summary process action. (See Exhibit K).

 
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23. On October 15, 2004, the Clerk of the New Haven Housing Court re-issued an
execution for possession and another eviction was scheduled for November 8, 2004.

24. On October 19,2004, the Debtor, by Attorney Rigoglioso, filed this Chapter 13
petition for relief (the “fifth bankruptcy”), thereby again staying the summary process
eviction.

25, On October 19, 2004, the Debtor and Attorney Rigoglioso filed a Chapter 13 Plan
in the fifth bankruptcy. (See Exhibit L). The Plan again proposed to pay a mortgage
arrearage to the Bank with current mortgage payments being paid outside of the Plan,
despite the fact that title to the Property had already vested in the Bank and there was,
therefore, no longer a mortgage to cure or pay. The Debtor had acknowledged as much by
making the three use and occupancy payments described in paragraph 10 above.

26. The instant filing of the Chapter 13 petition by the Debtor prior to another
scheduled eviction was the fifth petition filed by Attorney Rigoglioso on behalf of
occupants of the Property within the past year and was filed in bad faith solely for
purposes of delay.

27. On December 6, 2004, Judge Weil dismissed the fourth bankruptcy with
prejudice and a one-year bar to re-filing. (See Exhibit M).

28. On December 9, 2004, Judge Weil granted the Bank’s motion for relief from stay

to proceed with the summary process action. (See Exhibit N).

 
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29. On December 23, 2004, Judge Dabrowski granted the Bank’s motion to dismiss
‘this, the fifth bankruptcy, with prejudice and a two-year bar to re-filing. Judge Dabrowski
denied, without prejudice, the Bank’s request for sanctions with leave to file this motion
citing the authority pursuant to which sanctions were sought.

30. The Debtor’s and Attorney Rigoglioso’s filing of this bankruptcy petition
constituted a misuse and abuse of the bankruptcy process. Attorney Rigoglioso admitted
in open court that all five bankruptcies were filed as part of a campaign to induce, and
effectively bludgeon the Movant to sell the Property to a third party relative of the Debtor.

31. The Debtor, Frank Schultz and Shannon Morris have occupied the Property
since April 15, 2004, without making any use and occupancy payments. Since May 13,
2004, the date of the first cancelled eviction, over seven months have elapsed at a monthly
value of $1,200 as previously set by Superior Court Judge Leavitt as described in paragraph
10 above.

32. The Bank incurred $525 in marshal’s and mover’s fees on account of the
cancelled evictions outlined above.

33. The Bank incurred $750 in filing fees for the five motions for relief from stay
outlined above.

34. The Bank incurred $1,750 in attorney's fees for the five motions for relief from
stay outlined above plus $750 in attorney’s fees for the motion to dismiss and motion for

sanctions in this case.

 
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WHEREFORE, U.S. Bank Nationa! Association, as Trustee respectfully moves that
this Court order the Debtor and Attorney Rigoglioso to pay appropriate sanctions for their

abuse of the bankruptcy process.

THE MOVANT, U.S. BANK NATIONAL
ASSOCIATION, AS TRUSTEE

By: MPV LON eno NWA L

Matthew B. Woods (ct06044)
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT

IN THE MATTER OF Patercin Mowei

CASE NO. 64-34 55L

DEBTOR(S)
ADV. NO.
DOEL
SUBSTITUTION FORM

The attachments to this document were not imaged.
If these attachments need to be reviewed and/ or copied,
please refer to the original case file.

DEBORAH S. HUNT
CLERK OF COURT

 
